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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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        ~ VERNON UNSWORTH,                      Case No. 2:18-cv-08048
   12
                   Plaintiff,                   Judge: Hon. Stephen V. Wilson
   13
   14        vs.                               [PR         DER TO
                                               RESCHEDULE TRIAL DATE
   15
        ~ ELON MUSK,
  16
                   Defendant.
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                           [PROPOSED] ORDER TO RESCHEDULE TRIAL DATE
Case 2:18-cv-08048-SVW-JC Document 53 Filed 06/12/19 Page 2 of 2 Page ID #:346

    1                                XXXXXXXXX
                                     fPROPOSEDI ORDER
   2        Currently before the Court is a Joint Stipulation to Reschedule the Trial Date,
   3 filed by Plaintiff Vernon Unsworth and Defendant Eton Musk (collectively, the
   4 "Parties").
   5        The Court, having read and considered the Joint Stipulation to Reschedule the
   6 Trial Date, and the Declarations of counsel in support thereof,and good cause
   7 appearing therefore, GRANTS the Stipulation. IT IS HEREBY ORDERED that:
   8        1.     The original trial date of October 22, 2019 scheduled for this action is
   9 vacated.
  10        2.     Anew trial date is set for December 2, 2019., at 9:00 a.m.
  11        3. Pretrial Conference is continued to November 25, 2019 at 3:00 p.m.

  12 Dated: June~L019
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                                              Ho able Stephen           ilson
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                                              United States District Court Judge
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                           [PROPOSED] ORDER TO RESCHEDULE TRIAL DATE
